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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

 RUSTY STRICKLAND,                                    )
 ALAN AND AMY WEST FARMS,                             )
                                                      )
 ALAN WEST,                                           )
 AMY WEST,                                            )
                                                      )
 DOUBLE B FARMS, LLC, and                             )
 BRYAN BAKER,                                         )
                                                      )
        Plaintiffs,                                   )
                                                      )
 v.                                                   ) Case No. 2:24-cv-60-Z
                                                      )
 THE UNITED STATES DEPARTMENT OF                      )
 AGRICULTURE,                                         )
 THOMAS J. VILSACK, in his official capacity          )
 as Secretary of the United States Department of      )
 Agriculture,                                         )
                                                      )
 ZACH DUCHENEAUX, in his official
                                                      )
 capacity as Administrator of the Farm Service
                                                      )
 Agency, and
                                                      )
 THE UNITED STATES OF AMERICA,                        )
        Defendants.                                   )



                             DECLARATION OF BRYAN BAKER


       I, Bryan Baker, declare the following:

       1.      The facts set forth in this declaration are based on my knowledge and, if called as

a witness, I can competently testify to their truthfulness under oath. As to those matters that reflect

a matter of opinion, they reflect my personal opinion and judgment upon the matter.

       2.      I am a citizen of the United States, a resident of Texas, over 18 years of age, and

have personal knowledge of the facts set forth herein.

       3.      I am fully competent to make this declaration.
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         4.    I am a farmer in Sudan, Texas and grow cotton, black eyed peas, grain sorghum,

and sorghum silage.

         5.    I am the sole owner of Double B Farms, LLC.

         6.    In 2020, 2021, and 2022, our area experienced excessive heat and drought. These

conditions harmed crops and reduced available grazing. My farms have produced less than half

the cotton they normally would have. Although I have been fortunate enough not to directly suffer

from the wildfires that have struck many neighboring farmers, the ripple effects of these disasters

impact everything and everyone around me through the agricultural cooperatives as well as the

local economy. These bad years have left me without the capital I need to upgrade my rollers,

including a John Deere sprayer and other vehicles my employees use.

         7.    I am a Non-Hispanic, Caucasian (white) male.

         8.    I am not a “beginning farmer” because I have operated a farm for more than ten

years.

         9.    I am not a “veteran farmer” because I am not a veteran.

         10.   I am not a “limited resource farmer” because my total household income for all

relevant calendar years placed me above the national poverty level for a family of four.

         11.   As a result of my statuses identified in the paragraphs above, neither I nor Double

B Farms, LLC qualified as an “underserved farmer or rancher” for purposes of the relief programs

administered by the United States Department of Agriculture (USDA) to help our farm cope with

losses due to the pandemic, the excessive heat, and the droughts we experienced in northwest

Texas.

         12.   I applied to USDA under the Pandemic Assistance Revenue Program, identifying

my eligible 2020 program loss as $225,612.80. USDA issued me a program payment of $9,448.03.



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       13.     For losses our area suffered from droughts and excessive heat in 2020 and 2021, I

applied to USDA under the Emergency Relief Program 2021, Phase 1, identifying my eligible

program loss as $67,990.00. USDA issued me a program payment of $53,372.17.

       14.     For losses our area suffered from droughts and excessive heat in 2020 and 2021,

Double B Farms, LLC applied to USDA under the Emergency Relief Program 2021, Phase 1,

identifying an eligible program loss of $193,150.00. USDA issued Double B Farms, LLC a

program payment of $151,622.79.

       15.     For losses our area suffered from droughts and excessive heat in 2022, I applied to

USDA under the Emergency Relief Program 2022, Track 1, identifying an eligible program loss

of $53,850.00. USDA issued me a program payment of $7,788.75.

       16.     For losses our area suffered from droughts and excessive heat in 2022, Double B

Farms, LLC applied to USDA under the Emergency Relief Program 2022, Track 1, identifying an

eligible program loss of $130,136.00. USDA issued Double B Farms, LLC a program payment of

$13,510.20.

       17.     The payments USDA issued to Double B Farms, LLC and me under the Emergency

Relief Program 2022, Track 1, did not include any refunds of federal crop insurance premiums and

fees because it does not consider either Double B Farms, LLC or me underserved. This was a

change from prior years.

       18.     Additionally, in determining the payments Double B Farms, LLC and I received

under the Emergency Relief Program 2022, Track 1, USDA applied its newly adopted progressive

factoring, resulting in a substantial reduction in the payment to loss ratio compared to past years.

This came as a surprise to me. Prior to USDA announcing its progressive factoring approach, I




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planned based on USDA’s prior payment practices, which did not include a reduction in payment

based on progressive factoring.

       19.     For losses our area suffered from droughts and excessive heat in 2022, I applied to

USDA under the Emergency Relief Program 2022, Track 2, identifying an eligible program loss

of $372,889.73. USDA issued me a program payment of $31,716.73.

       20.     For losses our area suffered from droughts and excessive heat in 2022, Double B.

Farms, LLC applied to USDA under the Emergency Relief Program 2022, Track 2, identifying an

eligible program loss of $973,083.32. USDA issued Double B Farms, LLC a program payment of

$76,731.25.

       21.     Had I not been Caucasian and male, both Double B Farms, LLC and I would not

have been denied disaster relief from USDA under the Emergency Relief Program 2021, Phase 1,

and the Emergency Relief Program 2022, Tracks 1 and 2. In addition, I would not have been denied

disaster relief from USDA under the Pandemic Assistance Revenue Program.

       22.     USDA’s decision that I must be a veteran, a new farmer, or struggling to make ends

meet to be entitled to the same disaster relief as every other American farmer is stigmatizing and

discriminatory. I am aware that USDA is punishing me because of my race and sex.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct, to the best of my knowledge, information, and belief.




Dated: ___________                                          _____________________________
                                                            Bryan Baker




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